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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

     AARON FARRER,                                        Case No. 1:16-cv-3418-TWP-DML

                              Plaintiff,

     vs.

     INDIANA UNIVERSITY, et al.

                              Defendants.


                         SECOND MOTION FOR EXTENSION OF TIME
                            TO FILE STIPULATION OF DISMISSAL

           Come now Defendants Indiana University, Jason Casares, Amber Monroe, Vivian

 Hernandez, Katheryn A. Shirck, Adam Herman, Harold Goldsmith (collectively the “IU

 Defendants”), through counsel and respectfully request the Court continue the deadline to file

 Stipulation of Dismissal by two (2) weeks, to and including July 11, 2018. In support, the IU

 Defendants state:

           1.      The current deadline to file Stipulation of Dismissal is June 27, 2018.

           2.      This deadline has not yet passed.

           3.      Good cause exists to continue this deadline due to the fact that the parties have

 circulated and are working in good faith on a final settlement agreement.

           4.      The Parties’ reasonably require an additional two weeks to finalize their settlement.

           5.      The requested extension is not made for purposes of undue delay.

           6.      The undersigned contacted Plaintiff’s counsel, Tracey Turner, and Ms. Zerfoss’

 counsel, Peter Morse, regarding this request via email on June 27, 2018. Counsel do not object to

 this extension.
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        WHEREFORE, Indiana University, Jason Casares, Amber Monroe, Vivian Hernandez,

 Katheryn A. Shirck, Adam Herman, Harold Goldsmith respectfully request this Court continue the

 deadline to file the Stipulation of Dismissal by two (2) weeks, to and including July 11, 2018.



                                       /s/ Hamish S. Cohen
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                                       Casares, Amber Monroe, Vivian Hernandez, Katheryn
                                       Shirk, Adam Herman and Harold Goldsmith




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 27, 2018, a copy of the foregoing was filed electronically.

 Service of this filing will be made on ECF-registered counsel by operation of the court’s

 electronic filing system. Parties may access this filing through the Court’s system.

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                                                      /s/ Hamish S. Cohen
                                                      Hamish S. Cohen




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